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                                           UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF PUERTO RICO



 SANDRA RODRÍGUEZ-COTTO;
 RAFELLI GONZÁLEZ-COTTO,

                           Plaintiffs,
                                                                                         Civil Action No. _____________
                v.
                                                                                         Preliminary and Permanent Injunction
 WANDA VÁZQUEZ-GARCED, Governor
 of Puerto Rico; DENNISE NOEMÍ
 LONGO-QUIÑONES, Secretary of
 Department of Justice of Puerto Rico;
 PEDRO JANER, Secretary of Puerto Rico
 Department of Public Safety; HENRY
 ESCALERA, Puerto Rico Police
 Commissioner, all in their official capacities,

                           Defendants.



          MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                        PRELIMINARY INJUNCTION

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                                                         INTRODUCTION

           Plaintiffs Sandra D. Rodríguez-Cotto and Rafelli González-Cotto move for a preliminary

injunction against two provisions of the Law of the Puerto Rico Department of Public Safety,

both of which make it a crime to share false information about emergency conditions in Puerto




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Rico.1 The first challenged provision, 25 L.P.R.A. § 3654(a), makes it a crime to raise a false

alarm about an impending emergency or catastrophe in Puerto Rico or to “spread[] rumors or

rais[e] false alarms regarding nonexisting abnormalities” during an emergency. The second

challenged provision, 25 L.P.R.A. § 3654(f), makes it a crime to transmit, or allow another

person to transmit, “false information” about “any proclamation or executive order decreeing a

state of emergency or disaster or curfew” with the intent to cause “confusion, panic, or collective

public hysteria.”

         The Challenged Provisions violate the constitutional rights to free speech, a free press,

and due process. First, the Challenged Provisions criminalize a substantial amount of core speech

on matters of immense public concern, in violation of the First Amendment. Although they

ostensibly apply only to false information about emergency conditions in Puerto Rico, they do

not require the government to demonstrate that the defendant published the information with



1
    The Challenged Provisions read as follows:

      Será sancionada con pena de reclusión que no excederá de seis (6) meses o multa que no
      excederá de cinco mil (5,000) dólares o ambas penas a discreción del tribunal, toda persona
      que realizare cualquiera de los siguientes actos:
         (a) Dé una falsa alarma en relación con la inminente ocurrencia de una catástrofe en
             Puerto Rico o, si existiendo ya un estado de emergencia o desastre, disemine rumores
             o dé falsas alarmas sobre anormalidades no existentes.
             ....
         (f) Transmita o permita transmitir por cualquier medio, a través de cualquier red social o
             medio de comunicación masivo, información falsa con la intención de crear
             confusión, pánico o histeria pública colectiva, con respecto a cualquier proclama u
             orden ejecutiva decretando un estado de emergencia o desastre o toque de queda. En
             el caso de que la diseminación de información falsa resulte en daños al erario público,
             o a terceros, o la propiedad pública o privada, que excedan los diez mil (10,000)
             dólares, o cuando la conducta resulte en lesiones o daños físicos, se impondrá la pena
             correspondiente a la de un delito grave en cuarto grado.

25 L.P.R.A. § 3654(a), (f), http://www.agencias.pr.gov/ogp/Bvirtual/LeyesOrganicas/pages/20-
2017.aspx. Pursuant to Local Rule 5(g), Plaintiffs will file a certified translation of these
provisions and relevant cited news articles. All English translations hereinafter are uncertified.
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actual malice—i.e., that the defendant knew the speech to be false or acted with reckless

disregard as to falsity. Without this essential safeguard, the Challenged Provisions may be used

to prosecute reporters and other members of the public for inadvertent inaccuracies or even for

true speech that casts the government and its officials in a negative light, as Puerto Rico’s former

criminal defamation law was used to prosecute reporters who exposed police misconduct.

Mangual v. Rotger-Sabat, 317 F.3d 45 (1st Cir. 2003).

       Second, even if the Challenged Provisions were limited to deliberately false speech about

emergency conditions in Puerto Rico, they would still violate the First Amendment because they

impose a content-based restriction on speech about matters of public concern. As the Supreme

Court recognized in United States v. Alvarez, 567 U.S. 709 (2012), even deliberately false speech

is protected by the First Amendment under most circumstances. At the very least, content-based

restrictions on false but otherwise protected speech about matters of public concern must endure

the most stringent judicial scrutiny. That is because allowing the government to serve as the

arbiter of truth on such vitally important topics, even with the protections of an actual malice

requirement, presents an unacceptable risk of suppressing truthful speech. Here, the Challenged

Provisions cannot possibly satisfy strict (or even intermediate) scrutiny, because they are not

appropriately tailored to any overriding government interest. There is no evidence that so-called

fake news about emergency conditions in Puerto Rico creates significant risks to public health or

public order. But even if there were, government transparency would be the appropriate remedy,

not government censorship.

       Finally, the Challenged Provisions violate the Fourteenth Amendment’s Due Process

Clause because they are too vague for criminal restrictions on speech. It is impossible to

determine what constitutes a “non-existing abnormality” under 25 L.P.R.A. § 3654(a) or an



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intent to cause “confusion” under 25 L.P.R.A. § 3654(f). These terms are so capacious they

could conceivably apply to any speech related to emergency conditions in Puerto Rico during the

COVID-19 public health crisis, which effectively means almost all newsworthy speech. The

vagueness inherent in these terms not only fails to provide Plaintiffs and others with adequate

notice about what types of false speech are prohibited, it also gives law enforcement officials

virtually untethered discretion in deciding whom to prosecute. The obvious danger, under such

circumstances, is that the Challenged Provisions will be used to selectively prosecute those who

criticize the government and its officials.

       The threat of prosecution under the Challenged Provisions is already imposing a chilling

effect on Plaintiffs and other members of the press. Plaintiffs and their sources reasonably fear

that inadvertent inaccuracies or critical reporting on the government will result in their

prosecution, and this fear has made it more difficult for Plaintiffs to perform their journalistic

duty to inform the public about the COVID-19 public health emergency in Puerto Rico. The

present threat of prosecution, and its attendant chilling effect, is more than sufficient to establish

irreparable harm for purposes of a preliminary injunction. Furthermore, the balance of hardships

and the public interest support a preliminary injunction vindicating constitutional rights. Robust

public discussion, free from government interference, is essential to democratic governance,

especially during times of emergency when the government claims extraordinary powers.

Because the Challenged Provisions violate the fundamental freedoms protected by the First

Amendment, they must be immediately enjoined.




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                                     FACTUAL BACKGROUND

                                            Plaintiffs

       Plaintiff Sandra D. Rodríguez-Cotto is an independent journalist with over 30 years of

experience in print, television, magazines, radio and digital media in Puerto Rico, the United

States and several Latin American countries. See Exhibit 1, Declaration of Sandra D. Rodríguez-

Cotto (“Rodríguez-Cotto Decl.”) ¶ 3. Ms. Rodríguez- Cotto currently hosts the syndicated radio

program “En Blanco y Negro con Sandra” that airs daily, Monday to Friday, at 1 PM on at least

11 broadcast and online radio stations throughout Puerto Rico. Id. ¶ 4. Since 2010, she has

published a blog by the same name, “En Blanco y Negro con Sandra,” where she features her

own news stories, in-depth reporting, and analysis of the media and politics. Id. In 2019, she

received the Bolívar Pagán National Literature and Journalism Award from the Institute of

Puerto Rican Literature. Id. ¶ 10.

       Ms. Rodríguez-Cotto’s coverage of the use misogynistic language and descriptions of

violence against women in a Telegram chat between Governor Ricardo Rosselló and his aides

sparked island-wide protests that led to Governor Rosselló’s resignation. Id. ¶ 21–22. Her

reporting has been picked up by media outlets across the world, including the New York Times,

Guardian, VICE, MTV, Christian Science Monitor, and many others. Id. ¶ 21.

       Plaintiff Rafelli González-Cotto an independent journalist with over 10 years of

experience in print, magazines, radio, TV and digital media in Puerto Rico. Exhibit 2,

Declaration of Rafelli González-Cotto (“González-Cotto Decl.”) ¶ 3. He is also a lawyer and

notary public. Id. He has worked with several newspapers on the island, including El Nuevo Día,

Caribbean Business and CB en Español, where he was the Digital Editor. Id. ¶ 4. Subsequently,

he was appointed as the Digital Executive Editor at Latin Media House, a publishing house,


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where he directed the electronic platforms of six publications, two newspapers, and four,

magazines for approximately three years. Id.

          In 2017, while serving as the Digital Editor for Caribbean Business and CB en Español,

Mr. González Cotto participated in the publication of several digital stories about the Whitefish

Energy scandal. Id. ¶ 5. Those stories revealed that the Puerto Rico Electric Power Authority

(“PREPA”) awarded a $300 million contract to rebuild Puerto Rico’s electric grid to a small

private company with limited experience and only two registered employees, instead of

requesting cooperation through the mutual assistance program of the American Public Power

Association. Id. Notably, the contract also prohibited the government from auditing the “cost and

profit elements” of the contractor’s labor rates. Id. The story generated significant controversy in

Puerto Rico and the United States. Id. PREPA subsequently canceled the contract at the request

of then-Governor Ricardo Rosselló. Id.

                                     The Challenged Provisions

          On April 10, 2017, Puerto Rico enacted Law 20-2017, the Law of the Puerto Rico

Department of Public Safety, 25 L.P.R.A. § 3501 et seq. Section 6.14 of the Act, codified at 25

L.P.R.A. § 3654, makes it a crime to share false information relating to emergency conditions in

Puerto Rico. It provides in relevant part as follows:

          Any person who commits any of the following acts shall be punished by a term of
          imprisonment not to exceed six (6) months or by a fine not to exceed five thousand
          (5,000) dollars or both penalties at the discretion of the court:

          (a) Raising a false alarm with respect to the imminent occurrence of a catastrophe in
              Puerto Rico, or spreading rumors or raising a false alarm regarding nonexisting
              abnormalities.2




2
    See supra note 1 for untranslated text.


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This provision was recently invoked to prosecute a pastor for spreading allegedly false

information about government emergency orders on the messaging platform WhatsApp.3

       COVID-19 is a novel infectious disease caused by severe acute respiratory syndrome

coronavirus 2 (SARS-CoV-2). On March 11, 2020, the World Health Organization declared the

spread of COVID-19 a global pandemic.4 On March 15, 2020, Governor Vázquez issued the first

of several executive orders establishing emergency measures to control the spread of the virus

that causes COVID-19 in Puerto Rico, Administrative Bulletin No. OE-2020-023. The order

imposed an island-wide curfew and closed all businesses not involved in food sales, medicine, or

banking.5 The order imposed an island-wide curfew and closed all businesses not involved in

food sales, medicine, or banking. On March 30, 2020, through Administrative Bulletin No. OE-

2020-029, Governor Vázquez declared that the government would extend the curfew and

tightened restrictions on non-essential activity, including by requiring non-essential workers to

return home by 7 p.m. and limiting motorists’ use of the public roads.6 Throughout the COVID-

19 public health crisis, the government has been disquietingly opaque about its actions and the

current state of the public health emergency. For example, between April 17 and May 17,

Governor Vázquez has barely appeared at two official press conferences to speak about the virus.




3
  Alex Cancel, Ante FBI el mensaje falso que causó alarma por WhatsApp, El Nuevo Día, Mar.
23, 2020,
https://www.elnuevodia.com/noticias/seguridad/nota/antefbielmensajefalsoquecausoalarmaporw
hatsapp-2555078/. Pursuant to Local Rule 5(g), Plaintiffs will file a certified translation of this
article.
4
  See Donald McNeil Jr., Coronavirus Has Become a Pandemic, W.H.O. Says, N.Y. Times, Mar.
11, 2020, https://www.nytimes.com/2020/03/11/health/coronavirus-pandemic-who.html.
5
  See Associated Press, Puerto Rico Orders Curfew, Business Closures for Coronavirus, Mar. 15,
2020, https://apnews.com/0709f80ce89f9c004aa3c9eddf3166f4.
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  Administrative Bullet No. 2020-029 (Certified Translation), Government of Puerto Rico, Mar.
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González Cotto Decl. ¶ 21. In her last appearance on May 12, she spent five minutes answering

questions from the press. Id.

       Meanwhile, the government accused Pastor José Luis Rivera Santiago of violating 25

L.P.R.A. § 3654(a) by disseminating false information on the messaging platform WhatsApp

about a rumored executive emergency order to close all businesses. The government alleged that

Pastor Rivera Santiago’s speech resulted in a rush on the supermarkets.7 In fact, however,

Governor Vázquez did eventually announce an executive order closing almost all businesses in

Puerto Rico over Easter weekend, which itself caused a run on the grocery stores.8 On May 7,

police confirmed that charges against the pastor had been dismissed by the Court of San Juan for

lack of probable cause.9 Pastor Rivera Santiago’s prosecution alerted Plaintiffs, and other

members of the press, about the dangers of being prosecuted under the fake news laws.

Rodríguez Cotto Decl. ¶¶ 26–27; González Cotto Decl. ¶¶ 11–12.

       While Pastor Rivera Santiago’s prosecution was pending, the government swiftly enacted

Law 35-2020, which inter alia amended 25 L.P.R.A. § 3654 to add a second fake news offense.

The amendment makes it a crime to “[t]ransmit or allow [another person] to transmit, by any



7
  See NotiCel, Señalan a pastor como autor de audio falso por Whatsapp, Mar. 23, 2020,
https://www.noticel.com/ahora/20200323/senalan-a-pastor-como-responsable-de-audio-falso-
por-whatsapp/. Pursuant to Local Rule 5(g), Plaintiffs will file a certified translation of this
article.
8
  Amanda Perez Pintado, Shutdown: The Coronavirus: Puerto Ricans Crowd Supermarkets as
Government Ramps Up Restrictions, Pavement Pieces (Apr. 6, 2020),
https://pavementpieces.com/puerto-ricans-crowd-supermarkets-as-government-ramps-us-
restrictions/. See also O’Neill & Borges LLC, Puerto Rico Executive Order Mandates Total
Weekend Lockdown (Apr. 2020), https://www.oneillborges.com/our_client_alert/puerto-rico-
executive-order-mandates-total-weekend-lockdown/.
9
  Telemundo PR, Determinan no causa contra pastor por mensaje enviado por WhatsApp, May
7, 2020, https://www.telemundopr.com/noticias/puerto-rico/determinan-no-causa-contra-pastor-
por-mensaje-enviado-por-whatsapp/2079507/. Pursuant to Local Rule 5(g), Plaintiffs will file a
certified translation of this article.


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means, through any social network or mass media, false information with the intention of

creating confusion, panic or collective public hysteria, regarding any proclamation or executive

order decreeing a state of emergency or disaster or curfew.” It further states that the offense may

be charged as a felony in the fourth degree “[i]n the event that the dissemination of false

information results in damages to the public treasury, or to third parties, or public or private

property, that exceed ten thousand (10,000) dollars, or when the conduct results in physical

injury or damage.”10 Fourth degree felonies in Puerto Rico are punishable by at least six months,

and up to three years, in prison. 33 L.P.R.A. § 4694(e).

       Law 35-2020’s Statement of Motives provides, in relevant part: “[I]t is highly

reproachable that malicious people use social media or mass media to disseminate false

information with the intention of creating confusion, panic or collective public hysteria” during a

declared state of emergency or disaster, because “[s]uch conduct threatens the security of the

people and the social order, endangering the health and lives of citizens.”11 The law took effect

immediately upon its enactment.12




10
   Ley Núm. 35-2020 [Law 35-2020],
http://www.agencias.pr.gov/ogp/Bvirtual/leyesreferencia/PDF/2020/0035-2020.pdf. Pursuant to
Local Rule 5(g), Plaintiffs will file a certified translation of Law 35-2020. See supra note 1 for
untranslated text.
11
   See supra n.9. The untranslated text of the relevant paragraph reads as follows: Por otro lado,
resulta altamente reprochable que personas mal intencionadas utilicen las redes sociales o medios
de comunicación masiva, para diseminar información falsa con la intención de crear confusión,
pánico o histeria pública colectiva en nuestro pueblo, mientras se encuentra vigente un estado de
emergencia o desastre o toque de queda promulgado por el gobernador de Puerto Rico mediante
una Orden Ejecutiva. Dicha conducta atenta contra la seguridad del pueblo y el orden social,
poniendo en peligro la salud y la vida de los ciudadanos.
12
   See supra n.9.
                                                 13
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                      The Threat of Prosecution and the Chilling Effect

        Pastor Rivera Santiago’s prosecution and the recent enactment of Law 35-2020 have

made clear that the government will not tolerate what it considers to be false information about

the COVID-19 public health emergency and the government’s emergency orders. Of course,

Plaintiffs consistently factcheck their work, in accordance with standard journalistic practices.

However, they recognize that even the most thoroughly vetted stories may contain inadvertent

inaccuracies, especially during times of emergency when facts are developing quickly on the

ground, and that the government may dispute factually accurate reporting. Rodríguez Cotto Decl.

¶ 27; González Cotto Decl. ¶ 14. Plaintiffs, as well as other journalists and members of the

public, are now on notice that they may be criminally prosecuted under 25 L.P.R.A. §§ 3654(a)

and (f) for inadvertent inaccuracies in their speech about emergency conditions in Puerto Rico,

or for sharing news or commentary about the emergency that contradicts the government’s

official narrative.

        The threat of prosecution under the Challenged Provisions has palpably chilled Ms.

Rodríguez Cotto in her reporting about the COVID-19 public health emergency. Rodríguez

Cotto Decl. ¶¶ 26–32. As Ms. Rodríguez Cotto states in her declaration: “It is already risky for

journalists to challenge the government and now we risk a criminal conviction if anything we

publish is eventually disproved, even if the error was unintentional. These laws allow the

government broad discretion to harass and punish journalists. Now, journalists could face prison

time if we publish material that has not been verified by the government.” Rodríguez Cotto Decl.

¶ 30. Ms. Rodríguez Cotto’s sources have refrained from sharing important information, because

they are afraid that they, too, could be prosecuted under the Challenged Provisions. Id. ¶ 29.




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       Ms. Rodríguez Cotto’s fear of prosecution under the Challenged Provisions is informed

by her years of experience reporting on the government. In 1999, while Ms. Rodríguez Cotto was

president of the Overseas Press Club, the Club went to court to defend Obed Betancourt and the

newspaper El Vocero against a criminal defamation prosecution for articles Mr. Betancourt

published describing police corruption. Id. ¶ 11. At the probable cause hearing, the government

did not attempt to demonstrate that the defendants knew the articles to be false, or even that the

articles contained any false information, and the court dismissed the prosecution for lack of

probable cause. Id. The Club then sought to intervene in a federal lawsuit challenging Puerto

Rico’s criminal defamation law. Id. ¶ 12. Although the Club’s motion to intervene was denied,

the law was ultimately struck down by the U.S. Court of Appeals for the First Circuit, on the

ground that it violated the First Amendment. Id.; see Mangual, 317 F.3d 45. Ms. Rodríguez

Cotto’s experience with these cases demonstrated to her the danger of allowing the government

to prosecute speech that it deems to be false. Rodríguez Cotto Decl. ¶ 13.

       Ms. Rodríguez Cotto is also keenly aware that the government may distort information

about public emergencies in order to suit its political interests. In 2017, Ms. Rodríguez Cotto

reported on the inadequacy of the responses by the U.S. government and the Puerto Rico

government to the widespread devastation left by Hurricane Maria. Id. ¶ 15. Local officials,

including then-Governor Ricardo Rosselló, repeatedly failed to provide credible information

about the scale of the impact of the hurricane, claiming for months that the death toll was a few

dozen, when in reality it was more than a thousand. Id. During an on-air interview, Ms.

Rodríguez Cotto challenged then-Chief of Staff Ramón Rosario about the implausibility of the

official death toll; he responded by accusing her of exaggerating. Id. ¶ 17. Immediately following

that interview, and for several months afterwards, Ms. Rodríguez Cotto received thousands of



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messages via social media, many of them racist and misogynistic. Id. Shortly after the interview,

her house was broken into under suspicious circumstances, though nothing was stolen. Id. ¶ 18.

She filed a complaint with the police, who told her that the break-in was likely intended to “send

a message.” Id. Ultimately, the Puerto Rican government acknowledged that the official death

toll of 64 was inaccurate, and that the revised death toll was 1,427.13

       Mr. González Cotto recently identified a similar problem with the government’s case

fatality measurement for the COVID-19 public health emergency. In a news article published in

NotiCel, Mr. González Cotto revealed that the case fatality rate published by the Health

Department was not calculated in accordance with generally accepted practices, resulting in a

significant underestimation of the fatality rate. González Cotto Decl. ¶ 8. Half an hour after the

article was published, the Health Department removed the information from its website. Id.

       Mr. González Cotto has published numerous other articles about the COVID-19 public

health emergency and the government’s response. For instance, he published an article revealing

that certain companies with close ties to Governor Vázquez’s New Progressive Party received

multimillion-dollar government contracts for rapid test kits to identify COVID-19 antibodies,

even though the companies had little experience managing medical supplies. Id. ¶ 7. Another one

of Mr. González Cotto’s articles reported that seven powerful businessmen were actively

lobbying Governor Vázquez and two agency heads to lift many of the emergency restrictions and

reopen businesses, despite the absence of reliable data about how reopening would affect the

public health crisis. Id. ¶ 9. That article was based on information and documentary evidence

provided to Mr. González Cotto by an anonymous source. Id.



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  See Frances Robles, Puerto Rican Government Acknowledges Hurricane Death Toll of 1,427,
N.Y. Times, Aug. 9, 2018, https://www.nytimes.com/2018/08/09/us/puerto-rico-death-toll-
maria.html.
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       Like Ms. Rodríguez Cotto, Mr. González Cotto reasonably fears that his reporting, which

often challenges the government’s official narrative about the COVID-19 public health

emergency or reveals new information that may cast the government’s actions in a negative light,

could expose him to prosecution under the Challenged Provisions. Id. ¶¶ 12–19. And the threat

of prosecution under 25 L.P.R.A. §§ 3654(a) and (f) is currently chilling Mr. González Cotto’s

own reporting, as well as his access to sources. Id. ¶¶ 15, 16.

       Finally, the chill imposed by 25 L.P.R.A. §§ 3654(a) and (f) on Plaintiffs is exacerbated

by the vagueness of the provisions themselves. Plaintiffs are unable to determine what

constitutes a “non-existing abnormality” under 25 L.P.R.A. § 3654(a) or an intent to cause

“confusion, panic, or public hysteria” under 25 L.P.R.A. § 3654(f), or how these provisions

might have applied to their own reporting if the reporting was deemed to include “false

information.” Rodríguez Cotto Decl. ¶ 31; González Cotto Decl. ¶¶ 18–19. For instance, Ms.

Rodríguez Cotto cannot ascertain whether her reporting about the death toll from Hurricane

Maria would have been considered a “non-existing abnormality” before the official death toll

was revised. Rodríguez Cotto Decl. ¶ 31.

                                           ARGUMENT

       When assessing a motion for preliminary injunction, this Court must consider four

factors: (1) the movant’s likelihood of success on the merits; (2) whether the movant will suffer

irreparable harm; (3) the balance of the equities; and (4) the public interest. CVS Pharmacy, Inc.

v. Lavin, 951 F.3d 50, 55 (1st Cir. 2020). “In the First Amendment context, the likelihood of

success on the merits is the linchpin of the preliminary injunction analysis.” Sindicato

Puertorriqueño de Trabajadores v. Fortuño, 699 F.3d 1, 10 (1st Cir. 2012). As discussed below,




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each of the four factors supports Plaintiffs’ motion for a preliminary injunction against the

Challenged Provisions.

   I.      Plaintiffs Are Likely to Succeed on the Merits.

        Plaintiffs are likely to succeed in demonstrating that the Challenged Provisions violate

their rights under the First and Fourteenth Amendments to the U.S. Constitution. These

provisions are unconstitutional for at least three reasons: First, they are substantially overbroad,

criminalizing and chilling a significant amount of protected speech on matters of immense public

concern. Second, they impose content-based restrictions on speech about emergency conditions

in Puerto Rico, and they cannot satisfy strict or event intermediate scrutiny. Finally, they are

unconstitutionally vague, especially for criminal laws regulating speech. Plaintiffs’ success on

any one of these grounds would justify a preliminary injunction.

           A. The Challenged Provisions Are Substantially Overbroad.

        First, the Challenged Provisions are facially deficient because they do not require the

government to demonstrate that the defendant published with actual malice. “According to [the

Supreme Court’s] First Amendment overbreadth doctrine, a statute is facially invalid if it

prohibits a substantial amount of protected speech.” United States v. Williams, 553 U.S. 285, 292

(2008). To justify facial relief under the overbreadth doctrine, a plaintiff must demonstrate that

the challenged statute is overbroad both in an absolute sense and judged in relation to the

statute’s plainly legitimate sweep. Id.

        The subject matter regulated by the Challenged Provisions—speech about emergency

conditions in Puerto Rico, including government curfew and other emergency orders—lies at the

very heart of the First Amendment. Because “speech concerning public affairs . . . is the essence

of self-government,” Garrison v. Louisiana, 379 U.S. 64, 74–75 (1964), “there is practically


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universal agreement that a major purpose of [the First] Amendment was to protect the free

discussion of governmental affairs,” Mills v. Alabama, 384 U.S. 214, 218 (1966). “The

maintenance of the opportunity for free political discussion to the end that government may be

responsive to the will of the people and that changes may be obtained by lawful means, an

opportunity essential to the security of the Republic, is a fundamental principle of our

constitutional system.” Stromberg v. California, 283 U.S. 359, 369 (1931).

       Although the Challenged Provisions purport to criminalize only false information, that

“does not mean that only false speech will be deterred.” N.Y. Times Co. v. Sullivan, 376 U.S.

254, 279 (1964). People who wish to discuss information about the COVID-19 public health

emergency and the government’s response may be deterred, “even though [such information] is

believed to be true and even though it is in fact true, because of doubt whether it can be proved

in court or fear of the expense of having to do so.” Id. “[E]rroneous statement is inevitable in free

debate,” and “it must be protected if the freedoms of expression are to have the ‘breathing space’

that they ‘need . . . to survive.’” Id. at 271 (omission in original) (quoting NAACP v. Button, 371

U.S. 415, 433 (1963)).

       To ensure that “debate on public issues [remains] uninhibited, robust, and wide-open,” id.

at 270, the Supreme Court held in Sullivan that even false and defamatory speech about

government officials may not constitutionally be punished unless the government establishes

“that the statement was made with ‘actual malice’—that is, with knowledge that it was false or

with reckless disregard of whether it was false or not,” id. at 279–80 (citation omitted). In

Garrison, the Supreme Court held that the same requirement “appl[ies] with no less force” to

criminal defamation laws. 379 U.S. at 215–16. Applying Garrison, the First Circuit struck down

Puerto Rico’s criminal defamation law on the ground that it did not include an actual malice



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requirement. Mangual, 317 F.3d at 66 (“Section 4101, on its face, is constitutionally deficient, in

that it does not require that the [Sullivan] and Garrison standard of actual malice be proven in

order for a statement disparaging a public official or figure to be successfully prosecuted.”).

       The Challenged Provisions suffer from the same fundamental defect as the criminal

defamation law struck down in Mangual. They do not require the government to demonstrate

that the defendant either knew the information to be false or acted with reckless disregard as to

falsity. In other words, the Challenged Provisions authorize the government to prosecute people

for inadvertent inaccuracies or speech that the government deems to be false. The absence of an

actual malice requirement would be fatal in any criminal law restricting speech on matters of

public concern, but it is especially pernicious in a law regulating speech about emergencies. By

their very nature, emergencies are time-sensitive, factually complex, and politically contentious.

Laws that make it a crime to share false information in an emergency, without requiring the

government to demonstrate that the speaker acted with actual malice, are guaranteed to chill

reporting and commentary that does not toe the government’s official line—which can have

disastrous consequences if the government’s official line turns out to be wrong, as it was during

the controversy over the death toll caused by Hurricane Maria. See supra n.13.

       Although 25 L.P.R.A. § 3654(f) requires the government to demonstrate that the

defendant intended to cause “confusion, panic, or public hysteria,” this nebulous intent standard

is not a legitimate substitute for an actual malice requirement. First, any speech criticizing

emergency measures the government deems necessary or important will likely be viewed by the

government as motivated by the illicit desire to cause “confusion, panic, or public hysteria.” See

Garrison, 379 U.S. at 74 (noting that, in many criminal defamation cases, it will be “almost

impossible to show freedom from ill-will or selfish political motives” (citation and internal



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quotation marks omitted)). Putting that aside, “utterances honestly believed contribute to the free

interchange of ideas and the ascertainment of truth,” regardless of whether they are spoken with

benign or illicit intent. Garrison, 379 U.S. at 73. Confusion, panic, and even public hysteria may

be natural responses to news about a public emergency or the government’s response to that

emergency. But the public has a right to know what is going on, and journalists have a

professional duty to report on matters of public concern, without regard to their personal

predictions about how people might react.

       Nor can the Challenged Provisions be justified on the ground that false speech about

emergency conditions in Puerto Rico creates a “clear and present danger” to public safety. See

Schenck v. United States, 249 U.S. 47, 52 (1919). “[T]he clear and present danger of Schenck v.

United States, 249 U.S. 47 (1919), has evolved into the modern incitement rule of Brandenburg

v. Ohio, 395 U.S. 444 (1969).” Denver Area Educ. Telecommunications Consortium, Inc. v.

F.C.C., 518 U.S. 727, 778 (1996) (parallel citations omitted). As a result, it is now well

established that “the mere tendency of speech to encourage unlawful acts is not a sufficient

reason for banning it.” Ashcroft v. Free Speech Coal., 535 U.S. 234, 236 (2002) (citing Stanley v.

Georgia, 394 U.S. 557, 566 (1969)).

       Speech may be suppressed on the ground that it incites unlawful conduct only where the

speech “is directed to inciting or producing imminent lawless action and is likely to incite or

produce such action.” Brandenburg, 395 U.S. at 447. But the Challenged Provisions are plainly

not limited to incitement. Neither provision requires the government to demonstrate that the

defendant’s speech was directed to producing imminent lawless action or that the speech was

likely to produce such action. “A statute which fails to draw this distinction impermissibly

intrudes upon the freedoms guaranteed by the First and Fourteenth Amendments. It sweeps



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within its condemnation speech which our Constitution has immunized from governmental

control.” Id. at 448.

            B. The Challenged Provisions Are Unconstitutionally Content Based.

        Second, the Challenged Provisions impose content-based restrictions on speech about

emergency conditions in Puerto Rico, including the government’s emergency orders. “[A]bove

all else, the First Amendment means that government has no power to restrict expression because

of its message, its ideas, its subject matter, or its content.” Police Dep’t of City of Chi. v. Mosley,

408 U.S. 92, 95 (1972). “Government regulation of speech is content based if a law applies to

particular speech because of the topic discussed or the idea or message expressed. This

commonsense meaning of the phrase ‘content based’ requires a court to consider whether a

regulation of speech ‘on its face’ draws distinctions based on the message a speaker conveys.”

Reed v. Town of Gilbert, 135 S. Ct. 2218, 2227 (2015) (citations omitted). In other words, a law

is facially content based “if it require[s] ‘enforcement authorities’ to ‘examine the content of the

message that is conveyed to determine whether’ a violation has occurred.” McCullen v. Coakley,

573 U.S. 464, 479 (2014) (quoting F.C.C. v. League of Women Voters of Cal., 468 U.S. 364, 383

(1984)). Content-based laws are presumptively unconstitutional and are subject to strict judicial

scrutiny. Reed, 135 S.Ct. at 2226–27. This “is the most demanding test known to constitutional

law.” City of Boerne v. Flores, 521 U.S. 507, 534 (1997).

        The Challenged Provisions are facially content-based restrictions on speech about public

emergencies in Puerto Rico. 25 L.P.R.A. § 3654(a) prohibits raising a false alarm about an

impending emergency in Puerto Rico or, if an emergency is already occurring, “spread[ing]

rumors or giv[ing] false alarms about non-existing abnormalities.” 25 L.P.R.A. § 3654(f) makes

it a crime to share false information about “any proclamation or executive order decreeing a state


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of emergency or disaster or curfew.” Both provisions require enforcement authorities to examine

the content of the offending message to determine whether it constitutes a crime.

       As discussed in Section I.A, the Challenged Provisions are in no way limited to

deliberately false speech. But even if they were, the Challenged Provisions would still be facially

unconstitutional. The Supreme Court plurality in Alvarez held that content-based restrictions on

deliberately false speech trigger strict scrutiny, because the government does not have the

“authority to compile a list of subjects about which false statements are punishable.” Alvarez,

567 U.S. at 724 (2012) (plurality op.). Although the concurrence and dissent disagreed with the

plurality about whether strict scrutiny applies to all content-based restrictions on deliberately

false but otherwise speech, the Justices unanimously agreed that content-based restrictions on

false speech about “matters of public concern” ordinarily trigger strict scrutiny, because allowing

“the state to be the arbiter of truth” on such matters “would present a grave and unacceptable

danger of suppressing truthful speech.” Id. at 751–52 (Alito, J., dissenting); accord id. at 731–32

(Breyer, J., concurring). Thus, for example, “the Constitution does not tolerate in any form” the

“spectre of prosecutions for libel on government,” regardless of the defendant’s knowledge or

intent. Rosenblatt v. Baer, 383 U.S. 75, 81 (1966).

       Strict scrutiny requires the government to demonstrate that the restriction is both

“necessary to serve a compelling state interest and is narrowly drawn to achieve that end.” Ark.

Writers’ Project, Inc. v. Ragland, 481 U.S. 221, 231 (1987). In order to demonstrate that a

content-based restriction on speech is “actually necessary” to achieve a compelling government

interest, the government “must specifically identify an actual problem in need of solving, and the

curtailment of free speech must be actually necessary to the solution.” Brown v. Entm’t

Merchants Ass’n, 564 U.S. 786, 799 (2011) (citations and internal quotation marks omitted).



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Furthermore, the government’s conclusions must be supported by actual evidence, not “anecdote

and supposition.” United States v. Playboy Entm’t Grp., 529 U.S. 803, 822 (2000).

       The Statement of Motives for Law 35-2020 indicates that 25 L.P.R.A. § 3654(f) was

enacted because false speech about government emergency orders “threatens the security of the

people and the social order, endangering the health and life of citizens.” See supra nn.10, 11.

This bare conclusion is insufficient to justify a restriction on speech. “The word ‘security’ is a

broad, vague generality whose contours should not be invoked to abrogate the fundamental law

embodied in the First Amendment.” N.Y. Times Co. v. United States, 403 U.S. 713, 719 (1971)

(Black, J., concurring). The Framers of the Constitution, “fully aware of both the need to defend

a new nation and the abuses of the English and Colonial Governments, sought to give this new

society strength and security by providing that freedom of speech, press, religion, and assembly

should not be abridged.” Id. Furthermore, there are no legislative findings to support the

government’s supposition that false speech about emergency conditions in Puerto Rico poses a

significant threat to public health and security. Nor is there any evidence that the Challenged

Provisions will meaningfully contribute to public wellbeing, or even that they will prevent public

confusion. See Alvarez, 567 U.S. at 728 (“[S]uppression of speech by the government can make

exposure of falsity more difficult, not less so”).

       The Challenged Provisions are also far from the least restrictive means for achieving the

government’s stated interests. To satisfy the least restrictive means test, the government must

demonstrate that any “plausible, less restrictive alternative would be ineffective” in achieving its

compelling goals. Playboy Entm’t Grp., 529 U.S. at 824. “[I]f a less restrictive means is

available for the Government to achieve its goals, the Government must use it.” Id. at 815. In this

case, there is an obvious less-restrictive alternative at the government’s disposal: counterspeech.



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Alvarez, 567 U.S. at 727 (“The remedy for speech that is false is speech that is true. This is the

ordinary course in a free society.”). For instance, the government could prevent false speech

about emergency conditions in Puerto Rico from causing public consternation by holding regular

press briefings, releasing pertinent records, and explaining its planned course of action to the

public. See id. at 729 (suggesting that, instead of making it a crime to falsely claim the Medal of

Honor, the government could establish a public database of Medal of Honor recipients).

Government transparency is likely to be much more effective at maintaining public order, and

building public trust, than government censorship. Law 35-2020’s legislative findings do nothing

to rebut the strong presumption that increased government transparency should be sufficient to

prevent public disorder caused by public confusion. Id. at 726.14

           C. The Challenged Provisions Are Unconstitutionally Vague.

       The Challenged Provisions are also unconstitutionally vague, both on their face and as

applied to Plaintiffs, in violation of the Fourteenth Amendment’s Due Process Clause. “It is a

basic principle of due process that an enactment is void for vagueness if its prohibitions are not

clearly defined.” Grayned v. City of Rockford, 408 U.S. 104, 108 (1972). “A statute can be

impermissibly vague for either of two independent reasons. First, if it fails to provide people of

ordinary intelligence a reasonable opportunity to understand what conduct it prohibits. Second, if

it authorizes or even encourages arbitrary and discriminatory enforcement.” Hill v. Colorado,

530 U.S. 703, 732 (2000) (citing City of Chi. v. Morales, 527 U.S. 41, 56–57 (1999)); accord,


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   Alternatively, the Challenged Provisions cannot survive even intermediate scrutiny for all of
the reasons identified above. See McCullen, 573 U.S. at 477 (holding that content-neutral laws,
which are subject to intermediate scrutiny, must be narrowly tailored to a substantial government
interest); see also Alvarez, 567 U.S. at 737–739 (Breyer, J., concurring) (concluding that the
Stolen Valor Act failed intermediate scrutiny because it was not narrowly tailored to the
government’s substantial interest in protecting “those who have sacrificed their health and life
for their country,” and noting that “accurate information will normally counteract the lie”).
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e.g., URI Student Senate v. Town of Narragansett, 631 F.3d 1, 13–14 (1st Cir. 2011); Butler v.

O’Brien, 663 F.3d 514, 518 (1st Cir. 2011). Of these two requirements, “the more important

aspect of vagueness doctrine ‘is . . . the requirement that a legislature establish minimal

guidelines to govern law enforcement.’” Kolender v. Lawson, 461 U.S. 352, 358 (1983) (quoting

Smith v. Goguen, 415 U.S. 566, 574 (1974)). Thus, even a law that is not formally vague may

violate due process if it is too easily susceptible to abuse by government officials.

       Two thumbs are placed on the scale when assessing a vagueness challenge to a criminal

regulation of speech, such as the Challenged Provisions. First, although the Supreme Court has

“expressed greater tolerance of enactments with civil rather than criminal penalties,” Vill. of

Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 498–99 (1982), it has made

clear that “[c]riminal statutes must be scrutinized [for vagueness] with particular care,” City of

Houston v. Hill, 482 U.S. 451, 459 (1987). Second, laws regulating speech are subject to a “more

stringent vagueness test” than laws regulating conduct. Hoffman Estates, 455 U.S. at 499.

“Because First Amendment freedoms need breathing space to survive, government may regulate

in the area only with narrow specificity.” Keyishian v. Bd. of Regents, 385 U.S. 589, 604 (1967)

(internal quotation marks omitted) (quoting Button, 371 U.S. at 433). The heightened vagueness

standard applied to laws regulating speech is necessary, both to “ensure that ambiguity does not

chill protected speech,” F.C.C. v. Fox Television Stations, Inc., 567 U.S. 239, 254 (2012), and

because “there are enhanced concerns about arbitrary enforcement under the void for vagueness

doctrine where there is the ‘potential for arbitrarily suppressing First Amendment liberties[.]’”

Butler, 663 F.3d at 520 (quoting Kolender, 461 U.S. at 358).

       These principles require the application of the most stringent vagueness scrutiny to the

Challenged Provisions. The laws cannot satisfy this demanding standard. First, L.P.R.A.



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§3654(a) is unconstitutionally vague because it is entirely unclear what the law means when it

prohibits sharing false information about “non-existing abnormalities” during a state of

emergency or disaster. By definition, states of emergency are almost entirely abnormal. A

prohibition against sharing false information about “non-existing abnormalities” during a state of

emergency therefore potentially applies to false speech on just about any matter of public

concern, from the health of government officials to changes in election procedures to economic

forecasts, for as long as the state of emergency lasts.

       This all-encompassing standard not only fails to provide adequate notice about what

speech is prohibited—for instance, it is unclear whether it applies to disputes about the death toll

or the fatality rate, see Rodríguez Cotto Decl. ¶ 27, 31; González Cotto Decl. ¶ 17—it also makes

the statute highly susceptible to discriminatory enforcement. “[T]he pervasiveness of false

statements, made for better or for worse motives, made thoughtlessly or deliberately, made with

or without accompanying harm, provides a weapon to a government broadly empowered to

prosecute falsity without more. And those who are unpopular may fear that the government will

use that weapon selectively[.]” Alvarez, 567 U.S. at 734 (Breyer, J., concurring).

        Second, L.P.R.A. § 3654(f) is unconstitutionally vague because the statute’s intent

requirement is too nebulous to bring it within constitutional bounds. It is unclear what the law

means by “confusion,” and the terms “panic” and “public hysteria” are not much clearer as

standards for criminal culpability. Is honest reporting about the government’s deliberations about

whether to impose, extend, modify, or lift an emergency order intended to cause confusion if the

article reflects a confused and uncertain state of affairs? Is an article intended to cause panic if

panic is foreseeable in response to news about an impending shutdown? Such a nebulous intent

requirement, tied to criminal penalties, necessarily compels people “to steer far wider of the



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unlawful zone . . . than if the boundaries of the forbidden areas were clearly marked.” Grayned,

408 U.S. at 109 (1972) (alteration in original) (citations and internal quotation marks omitted). In

concrete terms, journalists will be reluctant to report unofficial information about the

government’s emergency response, because the statute’s intent standard provides no reliable

protection against prosecution or conviction.

        Conversely, the law effectively empowers police officers and prosecutors to initiate

criminal proceedings against any member of the public whose speech includes real or imagined

inaccuracies about government emergency orders. The “need to eliminate the impermissible risk

of discriminatory enforcement” is especially important with respect to criminal regulations of

speech, “for history shows that speech is suppressed when either the speaker or the message is

critical of those who enforce the law.” Gentile v. State Bar of Nev., 501 U.S. 1030, 1051 (1991)

(citations omitted). In this case, 25 L.P.R.A. § 3654(f) is expressly directed to speech about the

government’s emergency orders. Under these circumstances, concerns about discriminatory

enforcement against speakers critical of the government are at their zenith. The law’s sweeping

intent standard fails to dispel these concerns.

       Even if 25 L.P.R.A. § 3654(f) could be construed to prohibit spreading false information

with the intent to cause a breach of the peace, it would still be unconstitutionally vague for the

reasons laid down by the Supreme Court in Ashton v. Kentucky, 384 U.S. 195 (1966). There, the

Court held that Kentucky’s common law of criminal defamation was unconstitutionally vague,

even though it required the government to demonstrate both that the defendant spoke with actual

malice and that the statement was “calculated to create disturbances of the peace.” 384 U.S. at

200. The Court explained that criminalizing statements “‘calculated to create disturbances of the

peace’ leaves wide open the standard of responsibility,” because it “involves calculations as to



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the boiling point of a particular person or a particular group.” Id. Likewise, 25 L.P.R.A. §

3654(f) requires members of the press to ascertain in advance, on pain of criminal penalty,

whether their speech would likely cause confusion, panic, or public hysteria in Puerto Rico. It is

not the proper function of the press to make these paternalistic calculations. Rather, it is the

press’s duty to inform the public in accordance with standard journalistic practices.

   II.       The Act’s Infringement of Plaintiffs’ First Amendment Rights Constitutes
             Irreparable Harm.

          Since Plaintiffs “have made a strong showing of likelihood of success on the merits of

their First Amendment claim, it follows that the irreparable injury component of the preliminary

injunction analysis is satisfied as well.” Sindicato Puertorriqueño de Trabajadores, 699 F.3d at

15. Although the Challenged Provisions have not yet been enforced against Plaintiffs, the mere

threat of prosecution already operates to chill Plaintiffs’ speech as well as the speech of their

sources. See Rodríguez Cotto Decl. ¶¶ 27–32; González Cotto Decl. ¶¶ 12–19. See also

Mangual, 317 F.3d at 58 (“[T]here is nothing Mangual can do to limit his exposure other than to

curtail his investigative and journalistic activities.”). This pervasive and ongoing chilling effect

satisfies the irreparable harm requirement, because “[t]he loss of First Amendment freedoms, for

even minimal periods of time, unquestionably constitutes irreparable injury.” Elrod v. Burns, 427

U.S. 347, 373 (1976).

   III.      The Balance of Hardships and the Public Interest Support a Preliminary
             Injunction.

          The balance of hardships and the public interest also tip sharply in favor of a preliminary

injunction vindicating the First Amendment. “First Amendment freedoms must always be

protected; that is why they have a special, separate place in the Constitution.” Firecross

Ministries v. Municipality of Ponce, 204 F. Supp. 2d 244, 250–51 (D.P.R. 2002). Thus, in any


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First Amendment case where a plaintiff demonstrates a likelihood of success on the merits, the

“balance weighs heavily against Defendants.” Id. at 251. Along the same lines, “[w]hen a

constitutional violation is likely . . . the public interest militates in favor of injunctive relief

because it is always in the public interest to prevent violation of a party's constitutional rights.”

Magriz v. Union de Tronquistas de P.R., Local 901, 765 F. Supp. 2d 143, 157 (D.P.R. 2011)

(quoting Miller v. City of Cincinnati, 622 F.3d 524, 540 (6th Cir. 2010)).

        In this case, a preliminary injunction is especially important because the threat of

prosecution under the Challenged Provisions necessarily chills public discussion about the

COVID-19 public health emergency and the government’s emergency orders. Although the

Challenged Provisions are ostensibly directed toward protecting public health and public order

during this emergency, the means adopted to achieve those compelling objectives are not

compatible with free speech and a free press. The most important check on the government’s

exercise of emergency powers is public scrutiny of the government’s actions.

                                            CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court issue a

preliminary injunction prohibiting Defendant from enforcing 25 L.P.R.A. §§ 3654(a) and (f).




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